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                                                                                                 of this notice                             
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                                                                                                 Principal, interest, and escrow, if any
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        YDULDEOHUDWHDFFRXQW"
        ✔
            No
            Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
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           ✔
               No
               Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)
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      Debtor 1                                Doc Filed       12/28/20 Entered 12/28/20
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              First Name       Middle Name    Last Name
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 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


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    
    ✔   I am the creditor.

       I am the creditor’s authorized agent.



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 8    /s/Emily Marchino
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      Signature
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        First Name           Middle Name      Last Name              7LWOH


 Company Wells Fargo Bank, N.A.
         _B____________________BB____________________________________

 Address    MAC N9286-01Y
            ___________________________B_________BB______BB______________
            Number                  Street

            1000 Blue Gentian Road
            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
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             Eagan                                   MN      55121-7700
            BBBB_______________________________________________BBBBBBBB__
              City                                       State      ZIPCode



                     800-274-7025                                                  NoticeOfPaymentChangeInquiries@wellsfargo.com
 Contact phone BBBBBBBBBBBBBBBBBBBBBBBBB                                         BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
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                       UNITED STATES BANKRUPTCY COURT          Page 3 of 7

                                                        Northern District of Georgia


                                                    Chapter 13 No. 1959740
                                                    Judge: Wendy L. Hagenau

In re:
Keidra Aiesha Ali-Gadson
                                           Debtor s 

                                           CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before December 29, 2020 via filing with the US
Bankruptcy Court's CM ECF system or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Main Postage Prepaid or FedEx.


Debtor:                             %\863RVWDO6HUYLFH)LUVW&ODVV0DLO3RVWDJH3UHSDLGRU)HG([
                                     Keidra Aiesha Ali-Gadson
                                     1691 Tree Line Rd

                                     Lithonia GA 30058



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                                     N/A




Debtor’s Attorney:                  %\&RXUW V&0(&)V\VWHPUHJLVWHUHGHPDLODGGUHVV
                                     E. L. Clark
                                     Clark & Washington, LLC Bldg. 3
                                     3300 Northeast Expwy.

                                     Atlanta GA 30341


                                    %\&RXUW V&0(&)V\VWHPUHJLVWHUHGHPDLODGGUHVV
                                     N/A




Trustee:                            %\&RXUW V&0(&)V\VWHPUHJLVWHUHGHPDLODGGUHVV
                                     Nancy J. Whaley
                                     Nancy J. Whaley, Standing Ch. 13 Trustee
                                     303 Peachtree Center Avenue Suite 120, Suntrust Garden Plaza
                                     Suite 120, Suntrust Garden Plaza
                                     Atlanta GA 30303

                                                            @@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@
                                                            /s/Emily Marchino
                                                            VP Loan Documentation
                                                            Wells Fargo Bank, N.A.
Case 19-59740-wlh                     Doc           Filed 12/28/20 Entered 12/28/20 11:33:14                                                    Desc Main
                                                                  Page 4Escrow
                                                                         of 7 Review Statement
                                    Return Mail Operations
                                    PO Box 14547     Document           For informational purposes only
                                    Des Moines, IA 50306-4547
                                                                                             Statement Date:                              December 10, 2020
                                                                                             Loan number:
                                                                                             Property address:
                                                                                                   1691 TREE LINE RD
                                                                                                   LITHONIA GA 30058


                                                                                             Customer Service
                                                                                                    Online                          Telephone
                                                                                                    wellsfargo.com                  1-800-340-0473
             KEIDRA ALI-GADSON
                                                                                                    Correspondence                  Hours of operation
             1691 TREE LINE RD                                                                      PO Box 10335                    Mon - Fri 7 a.m. - 7 p.m. CT
             LITHONIA GA 30058-5675                                                                 Des Moines, IA 50306
                                                                                                    To learn more, go to:
                                                                                                    wellsfargo.com/escrow


                                                                                                      We accept telecommunications relay service calls



   PLEASE NOTE: If you are presently seeking relief (or have previously been granted
   relief) under the United States Bankruptcy Code, this statement is being sent to you
   for informational purposes only. The summaries below are based on the terms of the
   loan and are provided for informational purposes only.
   These amounts are governed by the terms of the loan unless otherwise reduced by an
   order of the bankruptcy court. Because the amounts billed for the escrow items can
   change over time, we review the escrow account at least once per year to ensure there
   will be enough money to make these payments. Once the review is complete, we send
   the escrow review statement, also known as the escrow account disclosure statement.
                                                                                                The escrow account has a shortage of
   Here's what we found:
        • Required Minimum Balance: The escrow account balance is projected to                               $655.63
           fall below the required minimum balance. This means there is a shortage.

        •   Payments: As of the February 1, 2021 payment, the contractual portion of
            the escrow payment increases.



     Part 1 - Mortgage payment

            Option 1                Pay the shortage amount over 12 months
                                     Previous payment through New payment beginning with
                                     01/01/2021 payment date   the 02/01/2021 payment
                                                                                                   Option 1: No action required
    Principal and/or interest                  $360.79                   $360.79

    Escrow payment                              $381.77                  $441.24               Starting February 1, 2021 the new contractual
    Total payment amount
                                                                                               payment amount will be $802.03
                                              $742.56                  $802.03

            Option 2                Pay the shortage amount of $655.63
                                     Previous payment through New payment beginning with
                                     01/01/2021 payment date   the 02/01/2021 payment
                                                                                                   Option 2: Pay shortage in full
    Principal and/or interest                  $360.79                   $360.79

    Escrow payment                              $381.77                 $386.60                Starting February 1, 2021 the new contractual
    Total payment amount                                                                       payment amount will be $747.39
                                              $742.56                   $747.39




                                                          See Page 2 for additional details.


                                           Note: If you are presently seeking relief (or have previously been granted relief) under the United
                                           States Bankruptcy Code, this coupon is being provided for informational purposes only. If your
                                           Chapter 13 plan calls for your Chapter 13 Trustee to make the on-going post-petition mortgage
                                           payments, please contact your attorney or the Trustee’s office before directly sending any
                                           amounts relating to this escrow shortage

                                                                     If you choose to pay the shortage in full as referenced in Option 2, detach this coupon
                                                                     and mail it along with a check for $655.63 to the address that appears on this coupon.
     KEIDRA ALI-GADSON
                                                                     This payment must be received no later than February 1, 2021.


                 Wells Fargo Home Mortgage
                 PO Box 105647
                 Atlanta, GA 30348-5647




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        Part 2 - Payment calculations
                                                 Page 5 of 7
   For the past review period, the amount of the escrow items was $4,580.72. For the coming year, we expect the amount paid from escrow to be
   $4,639.21.

   How was the escrow payment calculated?
   To determine the escrow payment, we add the projected escrow items to be paid over the next 12 months. We base these projected amounts on any
   escrow items that may have been paid in the past and any future anticipated payments to be made. We then divide the amounts by 12 payments to
   determine the escrow amount.

   The chart below includes any actual escrow disbursements as well as any shortage that may have been identified for the past three analysis periods up
   through the date of the analysis.



   Escrow comparison

                                                                                                                                          New monthly
                                      02/19 - 01/20     07/19 - 06/20        02/20 - 12/20   02/21 - 01/22
                                                                                                                         # of               escrow
                                        (Actual)          (Actual)             (Actual)       (Projected)
                                                                                                                        months              amount

   Property taxes                           $1,125.84         $1,125.84          $1,126.28      $1,126.28        ÷         12       =           $93.86
   Property insurance                      $2,063.66         $2,063.66           $2,554.97      $2,554.97        ÷         12       =          $212.91
   Total taxes and insurance               $3,189.50          $3,189.50          $3,681.25      $3,681.25        ÷         12       =         $306.77
   Escrow shortage                           $830.25             $0.00             $433.75       $655.63         ÷         12       =           $54.64**
   Mortgage insurance                      $1,001.48           $992.28            $899.47         $957.96        ÷         12       =           $79.83

   Total escrow                             $5,021.23         $4,181.78          $5,014.47      $5,294.84        ÷         12       =          $441.24


   **
    This amount is added to the payment if Option 1 on page 1 is selected.


   Projected escrow account activity over the next 12 months
   To determine if there will be a shortage or overage in the account, we calculate whether the amount of the lowest projected escrow balance will be
   greater or less than the required minimum balance. This is determined by subtracting the required minimum balance from the lowest projected
   balance. If the outcome is positive, there is an overage. If it is negative, there is a shortage. The calculation is below:


                                                                                                     (Calculated in Part 3 - Escrow account projections
   Lowest projected escrow balance November, 2021                                  -$971.34          table)

   Bankruptcy adjustment‡                                              +           $929.25

   Minimum balance for the escrow account†                             -            $613.54          (Calculated as: $306.77 X 2 months)


   Escrow shortage                                                     =           -$655.63


   ‡
    This adjustment of $929.25, is the remaining amount of the pre-petition escrow shortage included in our proof of claim being paid through the
   confirmed bankruptcy plan.
   †
    The minimum balance includes a cash reserve to help cover any increase in taxes and/or insurance. To calculate the cash reserve for the escrow
   account, we add the yearly escrow payments, and divide by 12 (this amount does not include mortgage insurance). We take this amount and multiply
   it by 2 as allowed by state laws and/or the mortgage contract to determine the cash reserve.
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                                                      Document     Page 6 of 7
     Part 3 - Escrow account projections
   Escrow account projections from February, 2021 to January, 2022
                                             What we
                 Payments to                 expect to                                                                    Projected escrow        Balance required
   Date            escrow                     pay out         Description                                                     balance              in the account
   Jan 2021                                                   Starting balance                                                  -$357.79                    $1,227.09
   Feb 2021           $386.60                     $79.83      FHA Insurance                                                       -$51.02                   $1,533.86
   Mar 2021           $386.60                     $79.83      FHA Insurance                                                      $255.75                    $1,840.63
   Apr 2021           $386.60                     $79.83      FHA Insurance                                                      $562.52                    $2,147.40
   May 2021           $386.60                     $79.83      FHA Insurance                                                      $869.29                    $2,454.17
   Jun 2021           $386.60                     $79.83      FHA Insurance                                                     $1,176.06                   $2,760.94
   Jul 2021           $386.60                     $79.83      FHA Insurance                                                     $1,482.83                   $3,067.71
   Aug 2021           $386.60                     $79.83      FHA Insurance                                                     $1,789.60                   $3,374.48
   Sep 2021           $386.60                     $79.83      FHA Insurance                                                    $2,096.37                    $3,681.25
   Sep 2021              $0.00                    $563.14     DEKALB COUNTY (W)                                                 $1,533.23                   $3,118.11
   Oct 2021           $386.60                     $79.83      FHA Insurance                                                    $1,840.00                    $3,424.88
   Oct 2021              $0.00                    $563.14     DEKALB COUNTY (W)                                                 $1,276.86                   $2,861.74
   Nov 2021           $386.60                     $79.83      FHA Insurance                                                     $1,583.63                   $3,168.51
   Nov 2021              $0.00                  $2,554.97     USAA                                                              -$971.34                     $613.54
   Dec 2021           $386.60                     $79.83      FHA Insurance                                                     -$664.57                     $920.31
   Jan 2022           $386.60                     $79.83      FHA Insurance                                                     -$357.80                    $1,227.08

   Totals           $4,639.20                   $4,639.21



     Part 4 - Escrow account history
   Escrow account activity from February, 2020 to January, 2021
                         Deposits to escrow                     Payments from escrow                                                        Escrow balance
      Date      Actual      Projected Difference            Actual   Projected Difference                 Description           Actual         Projected Difference
   Feb 2020                                                                                            Starting Balance        -$4,762.34       $1,063.18      -$5,825.52
   Feb 2020       $298.18         $347.56       -$49.38        $0.00             $81.77      -$81.77   FHA Insurance           -$4,464.16       $1,328.97      -$5,793.13

   Feb 2020        $0.00            $0.00         $0.00        $81.77            $0.00        $81.77   FHA Insurance           -$4,545.93       $1,328.97      -$5,874.90

   Mar 2020       $298.18         $347.56       -$49.38        $0.00             $81.77      -$81.77   FHA Insurance            -$4,247.75      $1,594.76      -$5,842.51

   Mar 2020        $0.00            $0.00         $0.00        $81.77            $0.00        $81.77   FHA Insurance           -$4,329.52       $1,594.76      -$5,924.28

   Apr 2020       $322.18         $347.56       -$25.38        $0.00             $81.77      -$81.77   FHA Insurance           -$4,007.34       $1,860.55      -$5,867.89

   Apr 2020        $0.00            $0.00         $0.00        $81.77            $0.00        $81.77   FHA Insurance            -$4,089.11      $1,860.55      -$5,949.66

   May 2020       $644.36         $347.56       $296.80        $0.00             $81.77      -$81.77   FHA Insurance           -$3,444.75       $2,126.34      -$5,571.09

   May 2020        $0.00            $0.00         $0.00        $81.77            $0.00        $81.77   FHA Insurance           -$3,526.52       $2,126.34      -$5,652.86

   Jun 2020       $322.18         $347.56       -$25.38        $0.00             $81.77      -$81.77   FHA Insurance           -$3,204.34       $2,392.13      -$5,596.47

   Jun 2020        $0.00            $0.00         $0.00        $81.77            $0.00        $81.77   FHA Insurance            -$3,286.11      $2,392.13      -$5,678.24

   Jul 2020       $322.18         $347.56       -$25.38        $0.00             $81.77      -$81.77   FHA Insurance           -$2,963.93       $2,657.92      -$5,621.85

   Jul 2020        $0.00            $0.00         $0.00        $81.77            $0.00        $81.77   FHA Insurance           -$3,045.70       $2,657.92      -$5,703.62

   Aug 2020       $322.18         $347.56       -$25.38        $0.00             $81.77      -$81.77   FHA Insurance            -$2,723.52      $2,923.71      -$5,647.23

   Aug 2020        $0.00            $0.00         $0.00        $81.77            $0.00        $81.77   FHA Insurance           -$2,805.29       $2,923.71      -$5,729.00

   Sep 2020       $644.36         $347.56       $296.80        $0.00             $81.77      -$81.77   FHA Insurance           -$2,160.93       $3,189.50      -$5,350.43

   Sep 2020        $0.00            $0.00         $0.00       $563.14       $562.92           $0.22    DEKALB COUNTY (W)       -$2,724.07      $2,626.58       -$5,350.65

   Sep 2020        $0.00            $0.00         $0.00        $81.77            $0.00        $81.77   FHA Insurance           -$2,805.84      $2,626.58       -$5,432.42

   Oct 2020       $322.18         $347.56       -$25.38        $0.00             $81.77      -$81.77   FHA Insurance           -$2,483.66       $2,892.37      -$5,376.03

   Oct 2020        $0.00            $0.00         $0.00        $0.00        $562.92        -$562.92    DEKALB COUNTY (W)       -$2,483.66       $2,329.45       -$4,813.11

   Oct 2020        $0.00            $0.00         $0.00        $81.77            $0.00        $81.77   FHA Insurance           -$2,565.43       $2,329.45      -$4,894.88

   Oct 2020        $0.00            $0.00         $0.00     $2,554.97            $0.00     $2,554.97   USAA                    -$5,120.40       $2,329.45      -$7,449.85

   Nov 2020       $644.36         $347.56       $296.80        $0.00             $81.77      -$81.77   FHA Insurance           -$4,476.04       $2,595.24      -$7,071.28

   Nov 2020        $0.00            $0.00         $0.00        $0.00      $2,063.66       -$2,063.66   USAA                    -$4,476.04        $531.58       -$5,007.62

   Nov 2020        $0.00            $0.00         $0.00        $81.77            $0.00        $81.77   FHA Insurance            -$4,557.81       $531.58       -$5,089.39

   Nov 2020        $0.00            $0.00         $0.00       $563.14            $0.00      $563.14    DEKALB COUNTY (W)        -$5,120.95       $531.58       -$5,652.53

   Dec 2020     $4,542.99         $347.56      $4,195.43       $81.77            $81.77       $0.00    FHA Insurance             -$659.73        $797.37       -$1,457.10
   (estimate)

   Jan 2021       $381.77         $347.56        $34.21       $79.83             $81.77       -$1.94   FHA Insurance             -$357.79       $1,063.16      -$1,420.95
   (estimate)

   Totals       $9,065.10        $4,170.72    $4,894.38     $4,660.55     $4,170.74         $489.81




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